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Case 14-50333-gs Doc516 Entered 07/19/19 07:50:11 Page1

-
Anthony G. Thomas RECEIVED
7725 Peavine Peak Court AND FILED
Reno, NV 89523

Tel: (408) 640-2795

E-mail: atemerald2 @ gmail.com
Debtor in Propria Persona

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO

IN RE: ) Case No. BK-N-14-50333-BTB
)Case No. BK-N-14.60442-BF8. \4-SO 33 \
ANTHONY THOMAS and (Jointly Administered)

WENDI THOMAS CHAPTER 7 “EMERGENCY STAY*

AT EMERALD, LLC EX PARTE APPLICATION FOR AN ORDER
SHORTENING TIME AND MOTION FOR
STAY - EXPEDITED EMERGENCY HRG

Date:

Time:

) Judge: Hon. Gary A. Spraker
) Courtroom: 2

Debtors.

 

i, Anthony G. Thomas Deciare:

| am hereby applying for an Order Shortening Time re: Expedited
Emergency Hearing for a Stay of Proceedings in light of the imminent July 19" 2019
hearing that will result in a manifest injustice to occur if this Court does not grant a stay,
or if the Court refuses to perform its’ ministerial duty to take Judicial Notice of Law &
Facts in this matter that was filed before Judge Beesley prior to his recusal from this
case as a result of the Federal Civil Rights lawsuit that | filed against him. | am
combining the Ex Parte Application for an Order Shortening Time with my Motion for a
Stay in order to save time and permit me to file this pleading before the proposed sale,
as instructed to do so in this Court’s July 12" 2019 Order DE 512.

Irreparable harm in the form of the sale of the Emerald will occur if this Court

 

ANTHONY THOMAS’S APPLICATIONS FOR ORDER SHORTENING TIME & STAY
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Case 14-50333-gs Doc516 Entered 07/19/19 07:50:11 Page 2

does not grant a stay and procedeeds to sell the Emerald, especially since the proper
notice procedures were not followed and notice was only provided to Mr. Ken Tersini,
the principal of Kenmark Ventures LLC who procured the underlying Judgment against
me in Santa Ciara County by committing fraud upon the Court. | did not meet and
confer with Attorney Hartman, in light of his previous failures to even acknowledge and
address my concerns in the past, such as my December 6" 2018 when | first apprised
Mr. Hartman of his illegal attempt to sell the Emerald without compliance with the law,
as demonstrated by my 12-17-2018 filing before this Court.

If the Emerald is sold on 7-19-2019 hearing without compliance with the notice
rules it will reward fraud upon the court and corruption of the auction process by
collusion and will result in the Emerald being sold to the one who has committed fraud
upon the Court in procuring the underlying Judgment in Santa Clara County and has
committed BK fraud upon this Court. It will furthermore undermine the filing of my Rule
60 (b)(4) Motion now calendared for July 13" 2019. | am more than willing to agree to
the shortening of time for the hearing on this matter in order to prevent an injustice from
occurring.

| also request that this Court grant this Ex Parte Application for an Order
Shortening Time so as to permit my witness Paul S. Mula who will testify regarding the
lies made by Hudson Stremmel in his Declaration and his testimony made on March
22™ 2019. As explained in Mr. Mula’s declaration filed concurrently with this Motion, he
was ready willijng and able to appear in person before he sustained injuries as a result
of a physical altercation.

| further request a stay in order to be able to secure legal counsel for myself as
well as my LLC that cannot legally its rights without being represented by counsel. |
believe that a denial of a continuance without allowing the LLC to obtain representation
along with myself will constitute a severe deprivation. | am also requesting a

continuance for just 45 days so | can file my Motion to Vacate Void Judgment in the

 

ANTHONY THOMAS’S APPLICATIONS FOR ORDER SHORTENING TIME & STAY
-2-

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Case 14-50333-gs Doc516 Entered 07/19/19 07:50:11 Page 3

Santa Clara County Superior Court for which | have been prevented from doing so due
to the non-stop barrage of litigation against me in this Court masterminded by Ken
Tersini and his lawyer Wayne Silver with the connivance and support of the Trustee in
this case as well as her lawyer Mr. Hartman, and the support the U.S. Trustee Nick
Strozza who has failed to intervene in this case to prevent an illegal sale.

Certainly a 45 day continuance to prevent a manifest injustice in the context of
almost 8 years of injustice against me is not unreasonable. | therefore respectfully
request that this Court grant this Ex Parte Application for an Order Shortening timed
pending resolution of the Rule 60(b)(4) before this Court as well as to permit me to
engage legal counsel for myself and the LLC and to permit me to file my Motion to
Vacate the Judgment against me in the Santa Clara County Superior Court. There is no
prejudice to the other side, and no need for a rush to judgment to allow injustice to occur.
Dated: July 18" 2019. Respectfully submitted,

dani. Lite

Anthony/G. Thomas
Debtor In Propria Persona

 

ANTHONY THOMAS’S APPLICATIONS FOR ORDER SHORTENING TIME & STAY
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Case 14-50333-gs Doc516 Entered 07/19/19 07:50:11

Anthony G. Thomas
7725 Peavine Peak Court

Reno, NV 89523
Tel:

IN RE: Case No. BK-N-14-50333-BTB
Case No. BK-N-14-60442-BTB
ANTHONY THOMAS and ) (Jointly Administered)

WENDi THOMAS
AT EMERALD, LLC
Debtors.

(408) 640-2795
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Debtor In Propria Persona

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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO

CHAPTER 7

DECLARATION OF PAUL S. MULA II iSO

MOTION FOR STAY OF PROCEEDINGS
) PENDING RULING ON RULE 60(b)(4)

 

) MOTION TO VACATE VOID ORDER
Date: ee
Time: oo
Judge: Hon. Gary A. Spraker

Courtroom: 2

 

| Paul S. Mula I! declare:

1. | am a witness that is listed on Anthony Thomas's witness list filed with
this Court in anticipation of the hearing regarding the sale of the Thomas Emerald. In
this regard, | filed a Declaration with this Court that directly contradicts the Declaration
of Stremmel Auction’s owner's son Hudson Stremmel as well as the statements made
by Hudson Stremmel before this Court on 3-22-2019, that | have read from the

Transcripts of that hearing, a copy of which was provided to me by the Debtor Anthony

G. Thomas.

2. | was fully prepared to be physically present for the hearing on Friday July
19", 2019, however, | am currently unable to do so on account of being the victim of a

physical altercation that occurred on the evening of Wednesday July 17" 2019 near

 

DECLARATION OF PAUL S. MULA IN SUPPORT OF STAY
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Case 14-50333-gs Doc516 Entered 07/19/19 07:50:11 Page5

where | reside in San Jose. | am attaching to this declaration, a photograph of my face
showing my injuries along with a copy of today’s San Jose Mercury news to establish
that this photograph was taken today Thursday July 18" 2019.

3. Due to my injuries, | am unable to travel to Reno, and since | do suffer
from altitude sickness, | feel that | will suffer more and that my ability to heal from my
injuries will be affected if | have to appear in person in Reno.

4. If the Court does not grant Mr. Thomas's request for a continuance, in
order to prevent a manifest injustice from occuring, | will agree to testify telephonically if
necessary, however | am somewhat hazy and disoriented and would much prefer to
appear in person so | look Steve Stremmel and Hudson in the eyes and confront the lies
made by Hudson Stremmel in his Declaration and apprise the Court of what | was told
on the phone in my conversations with Steve Stremmel, the. owner of Stremmel
Auctions and Hudson Stremmel's father.

5. For the Court's reference, | want the Court to know that there are
recordings of some of the conversations between myself and Steve Stremmel that can
be provided to this Court, that fully corroborate the statements that | made in my
Declaration before this Court. My telephone number is (949) 836-8229 and | will make
myself available by phone to confirm this on the record if needed.

6. | believe that my testimony is essential to prove that Stremmel Auctions
acted in bad faith, made no efforts to market the Emerald, and did not spend more than
$200 to market the Emerald and that the Declaration of Hudson Stremmel is based
upon a pack of lies, is perjurious and directly opposed to the true facts that | garnered
from the e-mails and phone calls between myself and Steve Stremmel.

| declare under penalty of perjury of the laws of the States of California and
Nevada and the United States that the foregoing is true and correct.

Dated: Thursday July 18" 2019. Zz”

   

DECLARATION OF PAUL S. MULA IN SUPPORT OF STAY
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Case 14-50333-gs Doc516 Entered 07/19/19 07:50:11 Page 6 of 8

 
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Case 14-50333-gs Doc516 Entered 07/19/19 07:50:11 Page 7

Anthony G. Thomas
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Reno, NV 89523

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Debtor In Propria Persona

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA - RENO

IN RE: ) Case No. BK-N-14-50333-BTB
Case No. BK-N-14-60442-BTB
ANTHONY THOMAS and (Jointly Administered)

WEND! THOMAS CHAPTER 7 *EMERGENCY STAY*

AT EMERALD, LLC [PROPOSED] ORDER RE: EX PARTE
APPLICATION FOR AN ORDER
Debtors. SHORTENING TIME

Date:
Time:
Judge: Hon. Gary A. Spraker

) Courtroom: 2

 

Good cause appearing, having reviewed the papers filed by Debtor Anthony G.
Thomas in this matter, the Application for an Emergency Expedited Order Shortening

Time re: Motion for a Stay of Proceedings is hereby granted.

Date:

 

Judge Gary A. Spraker

 

ANTHONY THOMAS’S EX PARTE APPLICATION FOR ORDER SHORTENING TIME
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Case 14-50333-gs Doc 516 Entered 07/19/19 07:50:11 Page 8 of 8

CERTIFICATE OF SERVICE

| certify that | am an adult, over the age of 18 years, not a party to the action herein who resides in
Washoe County, Nevada. | caused to be served the foregoing documents via e-mail and U.S. Mail to the

following persons as listed below from my. e-mail address of kaila.ca.nv@email.com as follows: «

okt
1 shee

JEFFREY A. COGAN
_ ieffrey@ieffreycogan.com,, beautausinga@amail.com,. beaugijeff reyeogan. com

JERI COPPA-KNUDSON VIA U.S. MAIL: 3495 LAKESIDE OR PMB #62 RENO, NV 89509
renobktrusteegpamall, com, icoppaknudsonfiect. episystems. com

KEVIN A, DARBY

 

 

  

ie arbylawpwactice.co com. sanetnis Meacice. att

JEFFREY L. HARTMAN VIA U. S. MAIL: 510 WEST PLUMB LANE, STE 8 RENO, NV 89509

 

 

TIMOTHY A. LUCAS
ecflukast#@bollandhart.com

LAURY MILES MACAULEY _
acauley Awerouls.com

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AMY N. TIRRE

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U.S, TRUSTEE - RN - 7,7
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JOSEPH G. WENT
fawentigghollandhart, com, vilarseng@ihollandhart. com

1 declare under penalty of perjury that the foregoing is true and correct.
Dated: °

/S/ Katherine Thomas
KATHERINE THOMAS

 
